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                                                                  John M. Pierce – Managing Partner
                                                                    E: jpierce@johnpiercelaw.com


March 09, 2023

Via Email


Re:      United States v. Timothy Hart, Case Number 1:21-cr-00540-PLF-1

Dear Counsel:

Timothy Hart has retained us to represent him with respect to all criminal proceedings in the above-
referenced action. By his signature below, he hereby requests the following:

      1) Please immediately coordinate with my Client Advocate, Em Lambert, copied on this
          correspondence, to execute a Substitution of Counsel form that we will file tomorrow to
          effectuate the change in counsel so that I am in a position to appear as his counsel of record
          at the next status hearing;

      2) Please immediately coordinate with Ms. Lambert to transfer Mr. Hart’s entire file to us,
          including all discovery you have received from the government. Ms. Lambert can assist in
          facilitating this transfer through electronic means such as DropBox to make the transfer as
          easy as possible for you;


For the sake of clarity, and by Mr. Hart’s signature below, your representation of Mr. Hart is
hereby terminated. Pursuant to the applicable ethical rules, please refrain from direct or indirect
communication with Mr. Hart. All communications should be through me.




                      21550 Oxnard Street 3rd Floor, Woodland Hills, CA 91367
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Re: JPL Transfer Letter
March 09, 2023
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Sincerely,




                                                   John M. Pierce

                                                   Managing Partner
                                                   John Pierce Law




                    21550 Oxnard Street 3rd Floor, Woodland Hills, CA 91367
